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                                                                 2018 Nov-08 AM 10:27
                                                                 U.S. DISTRICT COURT
                                                                     N.D. OF ALABAMA




         EXHIBIT “B”
(Affidavit of Norbert A. Bennett)
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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ALABAMA
                                  SOUTHERN DIVISION


The Estate of ESSIE McELRATH, by
and through his Personal Representative,
ERSKINE McELRATH,


         Plaintiff,


v.                                                      CIVIL ACTION NO.:


BIRMINGHAM NURSING AND
REHABILITATION CENTER, LLC,
et al.


         Defendants.


                       AFFIDAVIT OF NORBERT A. BENNETT


STATE OF NEW YORK                    )


COUNTY OF ERIE                       )

         1.       My name is Norbert A. Bennett. I am an adult resident citizen of Erie


County, New York. I am over the age of 21, and I am competent to testify in this


matter.


         2.       The facts in this affidavit are based on my personal knowledge and are


true and correct to the best of my knowledge, information, and belief.


         3.       I am a member of D&N, LLC; at all times pertinent to the underlying


lawsuit (June 22, 2017 to November 1, 2017), I was also the manager of D&N,


LLC.
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      4.     D&N, LLC is a New York limited liability company with its principal

place of business in Orchard Park, New York.


      5.     D&N, LLC's members are Norbert A. Bennett, the Norbert A. Bennett


Children's Trust and the Norbert A. Bennett Grand-Children's Trust.


      6.     The trustee of the Norbert A. Bennett Children's Trust is Ronald


Bennett, a citizen of New York.


      7.    Ronald Bennett is also the trustee of the Norbert A. Bennett Grand-

Children's Trust.


      8.    D&N, LLC holds a 50% membership interest in Birmingham Nursing


and Rehabilitation Center, LLC.             DTD HC, LLC has the remaining 50%


membership interest in the aforementioned LLC.


      FURTHER, Affiant sayeth not.


      DATED: Qcwh-gA—              z<~ ,2018.



                                            NOFlBERT A. BfcNNETT



      Sworn to and subscribed before me this, the                 day of <5ctt)hA^L^2018.




                                            NOTARY PUBLI


My Commission Expires:             ANTHONY F. PHGNlA, JR.
                                  Non public! State of New York
                                      Qualified in Erie County
                             •^Commission Expires 1/16/20JJ.
